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Michael D. Rawlins, Esq.
Nevada Bar No. 5467

Aimee M. Cannon, Esq.
Nevada Bar No. 11780

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Telephone (702) 318-5033
Facsimile (702) 318-5034
Attorney for Plaintiff Linco Inc.

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA

Kew ee

In Re:
EACHPOLE, INC.,
Debtor.

 

LINCO INC., as Successor-In-Interest of the
Bankruptcy Estates of EACHPOLE, INC., and
TOP LIGHTING CORPORATION, dba ETOP
LIGHTING CORPORATION,

Plaintiff,
v.

BEAUTY MEMORY, a Nevada Nonprofit
Corporation, LKIMMY INC., a Nevada
Corporation, SYNGURU CORPORATION, a
Nevada Corporation; CHRIS KIM, an individual:
IL KIM, an individual; MISOOK KIM, an
individual; HY UKJOON KWON, also known as,
ANDREW KWON, an individual; BHASKER
PANCHAL, an individual; DOES I through X,
inclusive; and ROE ENTITIES XI through XX,
inclusive.

Defendants.

 

 

 

In Proceedings Under Chapter 7
Case No. BK-20-10956-abl
Adv. Case No. BK-20-01130-ab!

SUBSTITUTION OF ATTORNEY

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SMITH. & SHAPIRO, PLLC

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LINCO INC. hereby substitutes SMITH & SHAPIRO,’PLLC..as LINCO ING.’s attoriéys:of”
record in this matter, in the place.and stead of ANDERSEN LAW FIRM, LTD.
DATED this ( .day of Febniary, 2021.

    

LINCO INC,

 

By: esting Ln
Its: CEO, Owner

ANDERSEN LAW FIRM, LTD., hereby agrees and consents to-the substitution of SMITH &
SHAPIRO, PLLC, as LINCO INC,’s attorneys of record in this matter.
DATED this 7 Pay of Febtuuary, 2021:

 

 

Nevada Bar. ‘No. 12321
3199-2. Warm Springs Rd., Suite 400
Las Vegas; ‘Nevada 89120.

SMITH & SHAPIRO, PLLC, hereby accepts substitution as attorney of record for LINCO, INC.
DATED this Ip day of February, 2021.

 

 

Nevada Bar. No. ‘5467

Aimee M. Cannon, Esq.
Nevada Bar No.. 11780

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Henderson, Nevada $9074

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